         Case 5:21-cv-00785-XR Document 24-1 Filed 11/12/21 Page 1 of 1
                             IN THE UNITED STATES DISTRICT COURT
                              FOR THE WESTERN DISTRICT OF TEXAS
                                     SAN ANTONIO DIVISION


 SECURITIES AND EXCHANGE
 COMMISSION,
        Plaintiff,
               -against-
                                                        Civil Action No.: 5:21-cv-785-XR
 ROBERT J. MUELLER, DEEPROOT FUNDS
 LLC (a/k/a dprt Funds, LLC), AND POLICY
 SERVICES INC.,
          Defendants,
                -and-
 DEEPROOT TECH LLC, DEEPROOT
 PINBALL LLC, DEEPROOT STUDIOS LLC,
 DEEPROOT SPORTS & ENTERTAINMENT
 LLC, DEEPROOT RE 12621 SILICON DR LLC,
 AND ROBERT J. MUELLER, JEFFREY L.
 MUELLER, AND BELINDA G. BREEN, AS CO-
 TRUSTEES OF THE MB HALE OHANA
 REVOCABLE TRUST,
          Relief Defendants.


       [PROPOSED] EXTENDING DEADLINE TO FILE ANSWER OR OTHER
                        RESPONSIVE PLEADING

    On November 12, 2021, Defendant Robert J. Mueller filed his Second Unopposed Motion to

Extend the Deadline of all Defendants and Relief Defendants to File an Answer or Other

Responsive Pleading (the “Motion”). Having considered the Motion and the entire record in this

case, the Court concludes that the Motion should be GRANTED.

       IT IS THEREFORE ORDERED that the deadline for all Defendants and Relief Defendants

to file an answer is hereby extended through and until December 20, 2021.

       IT IS SO ORDERED this ___ day of November, 2021.

                                            ______________________________________
                                            XAVIER RODRIGUEZ
                                            U.S. DISTRICT JUDGE
